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                                                                                          .* *'W%'*Q      . ''

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                                                                                             ATM        LG G
                                                                                                   FV D

                                                                                         sEP -2 225
                      IN TH E U N ITED STA TES DISTR ICT CO U R T                      J L*         n         =
                     FO R TH E W E STER N D ISTR ICT O F V IR G IN IA
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U N ITED STA TES O F A M ER ICA                      C rim inalA ction N o.4:12-cr-00032

                                                     M EM O M N D UM O PIN IO N '

TY R ELL K E O NISA UN DER S,                        By:    H on.Jackson L .K iser
      Petitioner.                                           SeniorUnited StatesDistrictJudge.
       TyrellK eoniSaunders,a federalinm ate proceeding pro K ,filed a m otiop tp vacate,
                                                                                        'set

aside,orcorrectsentencepursuantto28U.S.C.j2255.TheUnitedStatestileda
                                                                   'motionto
dismiss,and Petitionerresponded,m aking thematterripefordisposition.Afterreviewingthe

record,IgranttheUnitedStates'motiontodismissanddismissthej2255motion.    '
                                                                     .

                                                j*               '                             ,




       Asaresultofa confidentialinform ant'snlzmerouscontrolled purchasesofdrug'
                                                                               sand '

tirearmsintheDanvillecommtmity,agrandjurychargedPetitionerinatwenty-threecount
indictmentforcrimesrelatedtoacrackcocainedistributionconspifacy.AlthoughPetitloner
faced am andatory minimum sentenceofsixty years'imprisonm entfortheindictm ent'
                                                                              ,appointed

counselnegotiated apleaagreem entwith theUnited Statesthatresulted in an agreed-upon

twentyyearsentence,pursuanttoFederalRuleofCriminalProcedtlre11(c)(l)(C).lnorderto
                                                                             '    #      .          .

benefitfrom the atleastforty-yearreduction ofsentencing exposure,Petitioneragreed aspartof

the w ritten plea agreem entto,interalia,w aive his rightto appealorcollaterally attack the

judgmentexceptforclaimsofineffectiveassistanceofcounsel.
       U ltim ately,1determ ined thatPetitioner know ingly and voluntarily pleaded guilty to one

countofconspiracy to possesswith intentto distribute28 gram sorm orqofcocaine base,in

violationof2lU.S.C.jj846and841(b)(1)(B);two countsofdistributionofadetectable
nmountofcocainebase,inviolation of21U.S.C.jj841(a)(1)and (b)(1)(C)'
                                                                  ,andonecotmtof
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possession ofa tirearm in furtherance ofa dnzg trafficking crim e,in violation of 18 U .S.C .

j924(c).On September30,2013,lsentencedPetitionerto,interalia,twentyyears'
incarcerationpursuanttotheRule11(c)(1)(C)pleaagreement.
       Petitionerdidnotappeal,buthedidtimelyfiletheinstantj2255motiontopresenttwo
claim s.First,Petitionerclaim sthattheUnited Statesfailedto granthim areduction in his

sentenee for acceptance ofresponsibility. Second,Petitionerclaim scounselrendered ineffective

assistanceby:(A)notobjectingtotheallegedfailurebytheUnited Statestorecommenda
sentencingadjustmentforacceptanceofresponsibility;(B)çsallowing''Petitionertoagreetoa
twenty-yearsentencewhen theapplicable guidelinerangewaslessforthefotlrcotmtsto which

Petitionerpleadedguilty;and(C)failingtodiscloseal1thetermsofthepleaagreement,which
allegedlyresulted in an tdinvoluntary andunintelligentplea.'' Forthefollowingreasons,a11of

Petitioner'sclaim sarem eritlessand mustbe dismissed.

                                                II.

       Petitionercould have pursued claim one aboutthe United States'alleged failure to granta

reduction in sentenceforacceptanceofresponsibility on directappeal. Claim sthatcouldhave

been,butwerenot,raisedon directappealareprocedurallybarredfrom review underj2255
unlessa defendantdem onstrates actualilm ocence orboth cause forthe defaultand actual

prejudice.SeeBousley v.United States,523U.S.614,622 (1998)(citingUnitedStatesv.
Frady,456U.S.152,167-68(1982)).Petitionerfailstoestablishactualinnocenceorcauseand
prejudice.See,e.g.,Schlupv.Delo,5l3U.S.298,329(1995);seealsoW eeksv.Bowersox,119
F.3d 1342,1352-53(8th Cir.1997)(enbanc)(ç$gA)bare,conclusoryassertionthat(apetitionerj




                                                 2
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isactuallyinnocentisnotsufticienttoinvokethe(Schlupjexception.').Accordingly,claim one
isdism issed as procedurally defaulted.1

                                                    111.

        Petitioner'srem aining claim arguesineffectiveassistance ofcounsel.Petitionerclaim s

counselrenderedineffectiveassistanceby:(A)notobjectingtothealleged failurebytheUnited
Statestorecommendasentencingadjustmentforacceptanceofresponsibility;(B)tdallowing''
Petitionerto agree to a tw enty-yearsentence w hen the applicable guideline range waslessforthe

fourcountstowhichPetitionerpleadedguilty;and(C)failingtodisclosea11thetennsoftheplea
agreem ent,which allegedly resulted in an Sdinvoluntary and unintelligentplea.''

        A petitionerclaim ing ineffectiveassistanceofcounselmustsatisfythetwo-pronged test

setforthinStricklandv.W ashington,466U.S.668(1984).ThetirstprongofStrickland
requiresa petitionerto show Ctthatcounselm ade errors so seriousthatcounselw as not

functioningastheScounsel'guaranteedthedefendantbytheSixthAmendmentg,j''meaningthat
counsel'srepresentation fellbelow anobjcctivestandardofreasonableness.z Strickland,466
U .S.at687-88. The second prong ofSjrickland requiresa petitionerto show thatcounsel's

deficientperformanceprejudicedhim bydemonstratingaStreasonableprobabilitythat,butfor
counsel'serrors,theresultoftheproceeding would have been different.''1d.at694. A

petitionerw ho had pleaded guilty m ustdem onstrate that,butforcounsel's alleged error,there is


        lln additionto beingprocedurally defaulted, Petitionerwaivedthisclaim by agreeingto thevalidcollateral
attackwaiverthatencompassesclaim one.See.e.a.,UnitedStatesv.Lemaster,403F.3d216,220(4thCir.2005),.
UnitedStatesv.Attar,38F.3d727,731-33(4thCir.1994).Nonetheless,theclaim ismeritlessasPetitioner's
sentencewasagreeduponpursuanttoRule11(c)(1)(C).
        2 Strickland established a tûstrong presumption that counsel's conduct falls within the wide range of
reasonableprofessionalassistanceg.l'' 466 U.S.at689. Stludicialscrutiny ofcounsel'sperformance mustbehighly
deferentiallyq''andiûevel'
                         yeffort(mustlbemadetoeliminatethedistorting effectsofhindsight,...andtoevaluate
thegchallengedlconductfrom cotmsel'sperspectiveatthetime.''ld.

                                                     3
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a reasonableprobability thathewouldnothavepleaded guilty and would haveinsisted on going

totrial.Hillv.Lockhart,474U.S.52,59(1985).$çA reasonableprobabilityisaprobability
sufficientto underm inetheconfidenceofthe outcom e.'' Strickland,466 U.S.at694.

       Petitionerfailsto establish eitherdeficientperformanceorresultingprejudice.First,
Petitionerfailsto demonstratethathewouldnothavepleaded guilty and insisted on goingtotrial

to face atleastsixty-years'incarceration w hen hisguilty plea resulted in a tw enty-yearsentence.

Although Petitioner'sguidelinesentence forthecountsto which he pleaded guilty ranged from

tentoelevenyears,hestillbenefittedfrom atwenty-yearsentencepursuanttoRule l1(c)(1)(C)
because allthe othercharges carrying up to forty additionalyearsofim prisonm entwere

dismissed.Also,1explainedto Petitionerduring theplea hearingthattheparagraph intheplea

agreem entaboutpoints foracceptance ofresponsibility w as notpertinentto the sentence because

oftheoperationofRule 11(c)(1)(C).Second,Petitionerconfirmedontherecordthathewas
fully satisfied with counsel'sservices,had discussedwith counselhisoptionsfordefendingthe

case,andhaddeterminedthattheRule11(c)(1)(C)pleaagreementwasthebestresolutionofthe
case.Petitioner'scurrentargum entstothecontrary arepatently frivolouswhen compared to the

statem entsm ade underoath. See.e.g.,Lem aster,403 F.3d at220-21. Lastly,the record clearly

dem onstratesthatthe pertinentportions ofthe plea agreem entw ere explained to the Petitioner

and thatPetitionerknowingly,voluntarily,and intelligently pleaded guilty pursuantto thewritten

pleaagreement.ln conclusion,nothing in therecord supportsPetitioner'sclaim sofineffective

assistance ofcounsel,and the claim sare dism issed.

                                              IV .

       Forthe foregoing reasons,1grantthe United States'm otion to dism iss and dism issthe

motiontovacate,setaside,orcorrectsentenceptzrsuantto28U.S.C.j2255.Baseduponmy
                                                4
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findingthatPetitionerhasnotmadetherequisitesubstantialshowing ofadenialofa

constitutionalrightasrequiredby28U.S.C.j22534c),acertiticateofappealability isdenied.
      EN TER :This        day ofSeptem ber,2015.
                                                                                         t.



                                                      eni rUnited StatesD istrictJudge
